                         Exhibit A – Declaration of Erica Simon


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF KANSAS


MARTIN J. WALSH,                                )
SECRETARY OF LABOR,                             )
U.S. DEPARTMENT OF LABOR,                       )
                                                )
                                    Petitioner, )
                                                )
                          v.                    )          Case No.4:22-mc-9006
                                                )
AKSHAY HOTELS LLC,                              )
                                                )
                                    Respondent. )

                               DECLARATION OF ERICA SIMON

       1.      I, Erica Simon, am now, and at all times material hereto have been, a Wage and

Hour Investigator for the Springfield Field Office of the Wage and Hour Division (“Wage and

Hour”), United States Department of Labor, under the supervision of Ricky Robinson, Assistant

District Director for the for the Kansas City District Office.

       2.      As a Wage and Hour Investigator for Wage and Hour, I investigate places of

employment and gather facts concerning whether employers are in compliance with the Fair

Labor Standards Act of 1938, as amended 29 U.S.C. § 201 et seq. (“FLSA”). My duties include

requesting records from employers, reviewing and copying employer records, interviewing

employees, speaking to managers and owners, and collecting and reviewing other relevant data

relating to FLSA coverage and compliance.

       3.      On January 13, 2022, an investigation of Akshay Hotels LLC was opened and

assigned to me. The purpose of the investigation was to determine whether the establishment was in

compliance with the FLSA and the regulations promulgated thereunder, including investigating


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                                                                     Exhibit A to Secretary’s Petition
                                                                 To Enforce Administrative Subpoena

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claims that employees worked at multiple locations but were paid on separate payrolls for hours

worked at each location.

       4.      On January 27, 2022, I called Akshay Hotel LLC and was referred to Akshay

Hotels LLC’s managing director, Pamela Hayward-Kelly. Hayward-Kelly provided me her

email address and I sent by electronic mail an Appointment letter to Hayward-Kelly as Akshay

Hotels LLC’s managing director. A true and correct copy of this letter is attached hereto as

Attachment 1. The letter outlined the initial investigation of Akshay Hotels LLC and requested

documents that needed to be reviewed as part of the investigation.

       5.      On February 16, 2022, I held an initial conference with Hayward-Kelly via the

telephone. I requested certain business records related to the investigation of Akshay Hotels

LLC. Hayward-Kelly provided a 1-page summary of hours for payroll check dated May 18,

2021, ownership information, and tax returns for Akshay Hotels LLC.

       6.      During the course of my investigation, I learned the owners of Akshay Hotels

LLC are Dilip Desai and Jayshri Desai, a husband-wife couple. I also learned that Dilip Desai

and Jayshri Desai own other hotel businesses including Aditri Hotels LLC and Wise Hotels

LLC.

       7.      I continued my investigation and determined the physical location of Akshay

Hotels LLC is 10610 Marty St Overland Park, KS 66212, it’s mailing address is 8551 E. Blue

Parkway, Kansas City, MO 64133, and its registered office address is 2913 W. 146th Street,

Leawood, KS 66224. As to Aditri Hotels LLC, the physical location is 8551 E. Blue Parkway,

Kansas City, MO 64133, its registered agent is Jayshri Desai, and its registered office is 8851 E.

Blue Parkway, Kansas City, MO 64133. As to Wise Hotels LLC, the physical location is 221 E.


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Ash Street, Junction City, KS 66441, its registered agent is Jayshri Desai and its registered office

is 221 E. Ash Street, Junction City, KS 66441.

       8.      I also determined Akshay Hotels LLC does business as La Quinta Inn & Suites

and/or La Quinta. Further, that Aditri Hotels LLC does business as Holiday Inn Express &

Suites and/or Holiday Inn. Finally, that Wise Hotels LLC does business as Holiday Inn Express

& Suites and/or Holiday Inn.

       9.      From February 23, 2022 through March 18, 2022, I emailed and called Hayward-

Kelly in an attempt to collect the requested records. I did not receive a response.

       10.     On March 23, 2022, I caused a 72-Hour Letter to be sent to Akshay Hotels LLC

by certified mail. The letter outlined the documents I needed for my investigation, including a

list of employees, payroll and time records, birthdates for minors, information about employees

who worked at multiple locations, company vehicles and a list of employees who drive company

vehicles. A true and correct copy of this letter is attached hereto as Attachment 2. The certified

letter was mailed to the physical address of Akshay Hotels LLC, 10610 Marty Street, Overland

Park, KS. According to the certified mail receipt, the letter was received by Akshay Hotels LLC

on March 26, 2022. This letter provided Akshay Hotels LLC with 72 hours to make the records

available. I then called Hayward-Kelly on March 29, 2022, and left a message on her voicemail.

Hayward-Kelly did not return my message and I did not receive any of the requested documents.

       11.     I learned Wage and Hour Investigator (“WHI”), Dan Baker, visited Hayward-

Kelly at her office located at 8551 E. Blue Parkway, Kansas City MO 64133. Hayward-Kelly

confirmed she received the 72-Hour Letter and assured WHI Baker that she would provide the

requested documents. I did not receive any of the requested documents.


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       12.     Because I had not received the requested documents, I requested a subpoena

duces tecum be served on Akshay Hotels LLC. WHI Dan Baker personally served a subpoena on

Akshay Hotels LLC at its physical address 10610 Marty Street, Overland Park, KS, on May 11,

2022. A true and correct copy of the subpoena and return of service is attached hereto as

Attachment 3. The subpoena requested Akshay Hotels LLC provide documents identifying the

owners, sales records, employee information, payroll and rate of pay information, work

schedules and time records, tip pooling, and employment policies and procedures related to

compensation and hours worked. The subpoena requested the documents be produced no later

than May 12, 2022. I did not receive a response from Akshay Hotels LLC or any of the

requested documents in response to this subpoena.

       13.     Based on the scope of the inspection and the limited information I had collected, I

suspected Akshay Hotels LLC, Aditri Hotels LLC, and Wise Hotels LLC, may be an Enterprise,

as defined by the FLSA. To further investigate, I requested a second subpoena duces tecum to be

delivered to Akshay Hotels LLC, and subpoenas duces tecum to be delivered to Aditri Hotels

LLC, and Wise Hotels LLC.

       14.     On September 6, 2022, WHI Dan Baker personally served a subpoena on Akshay

Hotels LLC at their registered office address 2913 W. 146th Street, Leawood, KS 66224. A true

and correct copy of the subpoena and return of service is attached hereto as letter is attached

hereto as Attachment 4. The subpoena requested Akshay Hotels LLC to provide documents

identifying the owners, sales records, employee information, payroll and rate of pay information,

work schedules and time records, and records relating to employees who drive company

vehicles. The subpoena requested the documents be produced no later than September 16, 2022.


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       15.     At the same time, WHI Dan Baker personally served a subpoena on Aditri Hotels

LLC at its registered agent’s address, 2913 W. 146th Street, Leawood, KS 66224. A true and

correct copy of the subpoena and return of service is attached hereto as Attachment 5. The

subpoena requested Aditri Hotels LLC to provide documents identifying the owners, sales

records, employee information, payroll and rate of pay information, work schedules and time

records, and records relating to employees who drive company vehicles. The subpoena requested

the documents be produced no later than September 16, 2022.

       16.     At the same time, WHI Dan Baker personally served a subpoena on Wise Hotels

LLC at its registered agent’s address, 2913 W. 146th Street, Leawood, KS 66224. A true and

correct copy of the subpoena and return of service is attached hereto as Exhibit 6. The subpoena

requested Wise Hotels LLC to provide documents identifying the owners, sales records,

employee information, payroll and rate of pay information, work schedules and time records,

and records relating to employees who drive company vehicles. The subpoena requested the

documents be produced no later than September 16, 2022.

       17.     Akshay Hotels LLC, Aditri Hotels LLC, and Wise Hotels LLC did not respond to

the subpoenas by September 16, 2022. To date, Akshay Hotels LLC, Aditri Hotels LLC, and

Wise Hotels LLC have not provided me or any other Wage and Hour representative with any

documents in response to the subpoenas.

       18.     The documents sought in the subpoenas are necessary to complete Wage and

Hour’s investigation and are essential to determining Akshay Hotels LLC, Aditri Hotels LLC,

and Wise Hotels LLC’s compliance with the FLSA.




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       I certify under 28 U.S.C. § 1746 and pursuant to the laws of the State of Missouri that the

preceding is true and correct.


Executed on this ________ day of October, 2022.




                Digitally signed by
ERICA           ERICA SIMON
                Date: 2022.10.19
SIMON           12:37:57 -05'00'

Erica Simon




                                                6
                                                                   Exhibit A to Secretary’s Petition
                                                               To Enforce Administrative Subpoena

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                            UNITED STATES DEPARTMENT OF LABOR
                                      Wage and Hour Division
                                     Springfield MO Field Office
                       901 St. Louis Street, Suite 305, Springfield MO 65806
                                  913-689-3294 or 417-496-2987


January 27, 2022

La Quinta Inn & Suites
10610 Marty Street
Overland Park KS 66212

Transmitted via email: pamelakhayward@gmail.com

RE: Wage and Hour Division Investigation

Attention: General Manager Pamela Hayward-Kelly

The Wage and Hour Division (WHD) of the U.S. Department of Labor is responsible for
administering and enforcing a number of federal labor laws, including the Fair Labor Standards
Act (FLSA). This letter is to inform you of the agency’s plans to visit your establishment by
Teams video meeting or telephone call on February 9, 2022 to determine your compliance with
the FLSA. The enclosed pamphlet briefly describes the FLSA.

Authority for this investigation is contained in Section 11(a) of the FLSA. Section 11(a) states:

       The Administrator or his designated representatives may investigate and gather data
       regarding the wages, hours, and other conditions and practices of employment in any
       industry subject to this chapter, and may enter and inspect such places and such records
       (and make such transcriptions thereof), question such employees, and investigate such
       facts, conditions, practices or matters as he may deem necessary or appropriate to
       determine whether any person has violated any provision of this chapter or which may
       aid in the enforcement of the provisions of this chapter.

I will visit your establishment by Teams video meeting or telephone call on Wednesday
February 9, 2022 at 8:00 am to determine such compliance. The normal procedure is to hold an
opening conference with a representative of the company, review certain records covering a
two-year period, interview a representative number of employees, and hold a closing
conference to discuss the results of the investigation.

In order to conduct the investigation with as little disruption to your business operations as
possible, please have available for inspection on the above date, all documents providing the
following information for the last two years (February 2020 to February 2022), ending with
your last completed payroll:



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   1. Legal name of the company and all other names used by the company (e.g., “Doing
      Business As” names).

   2. Names, addresses, email addresses, and telephone numbers of all business owners and
      company officers (e.g., President, Treasurer, Secretary, Board of Directors and other
      Corporate Officers) along with a company organizational chart if you have one.

   3. A listing of all other locations or similar businesses owned/operated. Please include a
      breakdown of ownership, addresses, telephone numbers and dates of
      ownership/operation for each location.

   4. Records, such as tax returns, demonstrating your gross annual dollar volume of sales
      (gross receipts) for all locations. Please provide these records for the past three years
      (2019, 2020 and 2021).

   5. A list of all current and former employees employed during the period February 2020 to
      February 2022, along with their address, email address, telephone number (mobile and
      landline), hourly rate or salary, job title, shift, and whether you consider that employee
      exempt from overtime pay.

   6. Payroll and time records for the past two years (February 2020 to February 2022),
      including a copy of the most recently completed payroll.

   7. Birth dates for all employees under age 18 who worked during the past 24 months.

   8. 1099 Forms and contract documents for any independent contractors, subcontractors
      or day laborers at this establishment.

   9. Federal Employer Identification Number (FEIN) and DUNS/D&B number.

   10. A listing of any employees that have worked at multiple locations in the same week if
       any.

   11. A listing of any company vehicles driven by employees, including the make, model and
       GVWR (gross vehicle weight rating) for each vehicle.

   12. A list of any employees who drive company vehicles.

We request that you make all of the listed documents available on the designated meeting date
pursuant to the authority contained in Section 11(a) and (c) of the FLSA and in Title 29, Code of
Federal Regulations, Part 516.




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WHD prefers that you submit all records electronically through the WHD Portal.


                                  Portal Access Information
                                  Link: https://webapps.dol.gov/eup
                              Case ID: 1957069
                             Zip Code: 66212


Section 15(a)(3) of the FLSA prohibits you from retaliating against any person who files a
complaint with the Wage and Hour Division or who cooperates with a Wage and Hour Division
investigation. The law also prohibits you from retaliating against your employees for accepting
payment of any wages owed to them or from requiring your employee to return or decline
payment of any wages owed to them.

I will make every effort to conduct this investigation expeditiously and with a minimum of
inconvenience to you and your employees. However, please note that the list above is not
intended to be an exhaustive or final list of records to be examined.

If you are unable to be present on the date and time indicated, you may designate a
representative to act on your behalf. Should you or your representative be unable to attend
the scheduled meeting, please notify me as soon as possible but no later than the preceding
business day.

If you have any questions, please call me at 913-689-3294 or 417-496-2987


Sincerely,


Erica Simon
Wage & Hour Investigator

Enclosures/links:
Handy Reference Guide, FLSA: http://www.dol.gov/whd/regs/compliance/wh1282.pdf
Fact Sheet #44: https://www.dol.gov/sites/dolgov/files/WHD/legacy/files/whdfs44.pdf
Fact Sheet #77A: https://www.dol.gov/sites/dolgov/files/WHD/legacy/files/whdfs77a.pdf
Records to be Kept by Employers: https://www.ecfr.gov/cgi-
bin/retrieveECFR?gp=&SID=10f50877082f08568d40dbfeaf119853&mc=true&r=PART&n=pt29.3
.516




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U.S. Department of Labor                 Wage and Hour Division
                                         Gateway Tower II
                                         400 State Avenue, Suite 1010
                                         Kansas City, Kansas 66101
                                         913-551-5721

March 22, 2022


Certified Mail No.: 7018 2290 0001 0162 8311
Case Number:        1957069


Akshay Hotels LLC
D/B/A: La Quinta Inn & Suites
10610 Marty Street
Overland Park, Kansas 66212
Also sent via electronic mail to pamelakhayward@gmail.com


Subject: Wage and Hour Division Investigation of Akshay Hotels LLC D/B/A: La Quinta Inn & Suites


Attention: Dilip Desai (owner)
           Jayshri Desai (owner)
           Pamela Hayward-Kelly (Managing Director)


The Wage and Hour Division is responsible for administering and enforcing several federal laws
involving labor standards. In this regard, Investigator Erica Simon has been assigned to conduct an
investigation of La Quinta Inn & Suites under the Fair Labor Standards Act of 1938 (FLSA), to
determine its compliance with the law. In order for the Investigator to proceed, it is necessary that we
examine certain records.

As this agency previously notified you, the authority of the Department of Labor to conduct such
investigations is contained in section 11(a) of the FLSA, 29 U.S.C. § 211(a), which provides that:

        The Administrator or his designated representatives may investigate and gather data
        regarding the wages, hours, and other conditions and practices of employment in any
        industry subject to this chapter, and may enter and inspect such places and such records
        (and make such transcriptions thereof), question such employees, and investigate such
        facts, conditions, practices, or matters as he may deem necessary or appropriate to
        determine whether any person has violated any provision of this chapter or which may aid in
        the enforcement of the provisions of this chapter.

The Supreme Court of the United States has affirmed this authority. See Oklahoma Press Publishing
Company v. Walling, 327 U.S. 186 (1946); Donovan v. Lone Steer Inc., 464 U.S. 408 (1984). The FLSA
also provides for the issuance of subpoenas to support such investigations.

Federal regulations require employers to keep certain records available for inspection and transcription
by the Wage and Hour Administrator or a duly authorized and designated representative. See 29 C.F.R.
Part 516. Records located off-site at a central recordkeeping office shall be made available within 72
hours, following notice from the Administrator or a duly authorized and designated representative. See
29 C.F.R. § 516.7. Sections 516.2(a) and 516.5(c) of the Code of Federal Regulations indicate the items
that you are required to maintain and that may be inspected during the investigation. Failure to comply
with these regulations is a violation of the law.




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                                  Attachment 2 to Exhibit A


We requested the necessary records on 1/27/2022 in a written appointment letter, on 2/16/2022 verbally
at our initial conference meeting, on 2/28/2022 verbally by telephone message at the Holiday Inn
location and a written email, on 3/8/2022 verbally via a voicemail message, on 3/9/2022 via a voicemail
and written email, on 3/10/2022verbally via a voicemail and message at the Holiday Inn location and on
3/18/2022 verbally via voicemail and a written email. You have failed to provide them.

On March 24, 2022, at 10:00 AM, you must make available for inspection at U.S. Department of
Labor Wage Hour, 400 State Avenue, Suite 1010, Kansas City Kansas 66101, all records listed
below providing the following information:


   1. A list of all current and former employees employed during the period February 2020 to
      February 2022, along with their address, email address, telephone number (mobile and
      landline), hourly rate or salary, job title, shift, and whether you consider that employee
      exempt from overtime pay.

   2. Payroll and time records for the past two years (February 2020 to February 2022), including
      a copy of the most recently completed payroll.

   3. Birth dates for all employees under age 18 who worked during the past 24 months.

   4. A listing of any employees that have worked at multiple locations in the same week and
      payroll records for all locations worked for those weeks.

   5. A listing of any company vehicles driven by employees, including the make, model and
      GVWR (gross vehicle weight rating) for each vehicle.

   6. A list of any employees who drive company vehicles.

WHD prefers that you submit all records electronically through the WHD Portal, or you may email
them to simon.erica@dol.gov no later than 10:00 AM on March 24, 2022.


                                     Portal Access Information
                                    Link:   https://webapps.dol.gov/eup
                                Case ID:    1957069
                               Zip Code:    66212



Consider this your final written notice to submit the requested information to Investigator
Erica Simon by 10:00 AM on March 24, 2022. You may contact Investigator Simon at (417)
496-2987 to discuss delivery of the documents requested.

Your failure to respond to this notice and/or otherwise provide the records requested may
result in additional action, including the issuance of a subpoena, to secure the information
relevant to this investigation.

You should also be aware that section 15(a)(3) of the FLSA prohibits you from retaliating against any
person who files a complaint with the Wage and Hour Division or who cooperates with a Wage and
Hour Division investigation. The law also prohibits you from retaliating against your employees for
accepting payment of any wages owed to them or from requiring your employees to return or decline
payment of any wages owed to them.



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                                    Attachment 2 to Exhibit A



The investigator will make every effort to conduct this investigation as expeditiously as possible and
with a minimum of inconvenience to you and your employees. If you have any questions regarding
the above, please contact me at (913) 689-3272.


Sincerely,
              Digitally signed by
RICKY    RICKY ROBINSON
ROBINSON Date: 2022.03.22
         08:59:06 -05'00'
Ricky Robinson
Assistant District Director




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                UNITED STATES OF AMERICA
                             DEPARTMENT OF LABOR
                            WAGE AND HOUR DIVISION

                             SUBPOENA DUCES TECUM

To: Akshay Hotels LLC
    10610 Marty Street
    Overland Park, Kansas 66212

 Pursuant to the Fair Labor Standards Act, 29 U.S.C §§ 209 and 211, you are
 hereby required to provide to Ricky Robinson, Assistant District Director,
 WAGE AND HOUR DIVISION, KANSAS CITY DISTRICT OFFICE, UNITED
 STATES DEPARTMENT OF LABOR, or his designee/representative, all books,
 papers, and other documents, as specifically described in the Attachment, by
 presenting such documents to the KANSAS CITY DISTRICT OFFICE Located
 at 400 State Avenue, Suite 1010, Kansas City, Kansas on May 12, 2022 at 2:00
 pm or you can you submit all records electronically through the WHD Portal.

                                  Portal Access Information
                                Link: https://webapps.dol.gov/eup
                            Case ID: 1957069
                           Zip Code: 66212




 FAIL NOT AT YOUR PERIL



                    IN TESTIMONY WHEREOF I have hereunto affixed my signature
                    and the seal of the UNITED STATES DEPARTMENT OF LABOR
                    at Chicago, Illinois this day of        , 2022.

                                                       Digitally signed by MICHAEL
                     MICHAEL LAZZERI                   LAZZERI
                                                       Date: 2022.04.29 15:08:01 -05'00'

                    MICHAEL LAZZERI, REGIONAL ADMINISTRATOR
                            WAGE AND HOUR DIVISION
                      UNITED STATES DEPARTMENT OF LABOR



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                                 Attachment 3 to Exhibit A




                                ATTACHMENT to SUBPOENA
                                        Aksahy Hotels LLC

A.     DEFINITIONS AND INSTRUCTIONS

       1.      “La Quinta Inn & Suites ” means Akshay Hotels LLC including its current and
former officers, directors, employees, attorneys, representatives, agents, assigns, subsidiaries,
and any predecessor or successor entities.

        2.     “Document” or “documents” shall mean all writings and recordings within the
meaning of Rules 1001(a) and (b) of the Federal Rules of Evidence (i.e., “letters, words, or
numbers, or their equivalent set down in any form” and “letters, words, or numbers, or their
equivalent recorded in any manner”), however produced or reproduced, of every kind or
description in La Quinta Inn & Suites possession, custody, or control, or within the custody or
control of any agent, employee representative or other persons acting or purporting to act for or
on behalf of La Quinta Inn & Suites, including notes; memoranda; records, reports,
correspondence; telefaxes and faxes; agreements or contracts; accounting or financial records or
worksheets; account books; journals; ledgers; bills; receipts; vouchers; transcripts or notes of
conversations or meetings; minutes of meetings; statements; tabulations; text messages; instant
message or messages from other electronic messaging software or applications; and all draft
copies of such documents containing additional marks or notations not found on the originals.

       3.      “Person” is defined by 29 U.S.C. § 203(a) as: “an individual, partnership,
association, corporation, business trust, legal representative, or any organized group of persons.”

        4.      “Relating to” or “reflecting,” means stating, constituting, referring to, pertaining
to, responding to, regarding, evidencing, explaining, discussing, depicting, analyzing, or
containing any information which in any way concerns, affects, or describes the terms or
conditions, or identifies facts, with respect to the subject of the inquiry.

        5.     “Worker” or “workers” includes individuals contracted, employed, hired, utilized,
or retained by and/or who worked for La Quinta Inn & Suites.

       6.     The terms “and” and “or” shall be construed conjunctively or disjunctively as
necessary to make the documents required by this subpoena inclusive rather than exclusive.

       7.      “Including” shall be construed to mean “without limitation.”

        8.       Unless otherwise specified, the time period covered by this subpoena is from
February 1, 2020, to the date of production. Documents created prior to February 1, 2020, which
have been used or relied on since February 1, 2020, or which describe legal duties which remain
in effect after February 1, 2020 (such as contracts and trust agreements), shall be considered as
included within the time period covered by this subpoena.




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       9.      If any document required to be produced pursuant to this subpoena is withheld
because of a claim of privilege, identify with respect each such document the:

               a.     Specific privilege being asserted;
               b.     Nature of the document;
               c.     Author of the document and the date of preparation;
               d.     Recipients of the document or copies thereof; and
               e.     Subject matter of the document.

       10.     If any document required to be produced pursuant to this subpoena has been
destroyed, identify with respect to each such document the:

               a.     Date destroyed;
               b.     Method of destruction;
               c.     Reason for destruction;
               d.     Person or person(s) who authorized the destruction; and
               e.     Subject matter of the document destroyed.


B.     DOCUMENTS TO BE PRODUCED

       1.     Documents reflecting the names, addresses, and telephone numbers of each
owner, corporate officer, and manager of La Quinta Inn & Suites.

       2.    Documents reflecting the ownership interest (percentage of ownership) of each
owner of La Quinta Inn & Suites.

       3.      Documents identifying all branches and establishments, controlled by, or
operating with La Quinta Inn & Suites.

       4.      La Quinta Inn & Suites company organizational chart.

        5.      Documents relating to the business structure of La Quinta Inn & Suites, including
articles of incorporation, partnership records, membership records, and corporate filings with the
Secretary of State.

       6.     All federal and state income tax forms submitted and signed by or on behalf of La
Quinta Inn & Suites, including all schedules, attachments, and worksheets.

        7.     Documents – including monthly, quarterly, and annual records – stating the
annual gross dollar volume of sales made or business done, or total volume of goods purchased
or received, by La Quinta Inn & Suites.

       8.     Documents reflecting the full name, last known addresses, and telephone numbers
of each worker performing work for La Quinta Inn & Suites.

       9.      Documents reflecting the dates of birth of each worker who was under the age of
18 during the time period described in Section A, Paragraph 8 of this Attachment.



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       10.    All documents stating the job descriptions, duties, and occupations of La Quinta
Inn & Suites workers.

       11.    Documents relating to workers treated as exempt from the minimum wage or
overtime wage requirements under the Fair Labor Standards Act of 1938, as Amended, 29
U.S.C. § 201 et seq.

      12.     All contracts and agreements between La Quinta Inn & Suites and workers who
La Quinta Inn & Suites considers to be independent contractors or subcontractors.

      13.      All W-2 Forms and/or 1099 Forms distributed by La Quinta Inn & Suites to
workers.

        14.    All documents reflecting the rate of pay per worker, per pay period and any
changes made to the rate of pay and applicable date(s) of the rate of pay by indicating the
monetary amount paid on a per hour, per day, per week, per piece, commission on sales, or other
basis for each worker.

       15.     All documents reflecting the total gross wages paid per pay period for each
worker, including payroll records, payroll ledgers, payroll journals, pay stubs, and check stubs.

       16.     All documents relating to cash payments to workers.

       17.     All documents reflecting schedules of work for workers.

        18.    Documents reflecting each worker’s starting and ending time and day for each
workweek. If the worker was part of a workforce or employed in or by an establishment whose
workers have a workweek beginning at the same time on the same day, a single document noting
the time of day and beginning day of the workweek for the whole workforce or establishment
will suffice.

      19.     All documents reflecting the hours worked each workday and total hours worked
by workers each workweek, including timesheets, timecards, logs, journals, and diaries.

       20.    All documents reflecting the total daily or weekly regular earnings or wages due
for hours worked during each workday or workweek for each worker.

        21.    All documents reflecting additions to, or deductions from, wages paid each pay
period to each worker.

       22.     All documents relating to tip credits taken by the La Quinta Inn & Suites for each
worker.

       23.     All documents reflecting the amount of tips received by workers.

      24.      All documents relating to any tip-pooling arrangement, including notice given to
workers.




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 17 of 38
                                Attachment 3 to Exhibit A


        25.     All documents relating to any tips contributed to any tip pool by each worker and
distribution of said tips.

       26.     All of La Quinta Inn & Suites employment policies and procedures related to
compensation paid to workers and hours worked (or pieces completed) by workers, including
supervisory procedures, recordkeeping procedures, compensation policies, disciplinary policies,
and employee handbooks.




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 18 of 38
                                 Attachment 3 to Exhibit A


                                 RETURN OF SERVICE
I hereby certify that I served the subpoena directed to __________________________ on
________________________ by:

‫ ܆‬hand delivering it to _________________________;

‫ ܆‬hand-delivering it to ____________________________, who is: _______________________; is an
individual of suitable age and discretion; and resides at ________________________’s residence.

‫ ܆‬hand-delivering it to __________________________, who is an officer, managing agent, general
agent, or other agent authorized by appointment or law to accept service of process on behalf of
________________________and by mailing a copy of the subpoena to
______________________________.



‫ ܆‬other: _____________________________________________________________.




                                                                          (Signature)


                                                             (Name of person serving the subpoena)



                                                                         (Official Title)


                                                                             (Date)




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 19 of 38
                   Attachment 3 to Exhibit A




Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 20 of 38
                               Attachment 4 to Exhibit A



                UNITED STATES OF AMERICA
                               DEPARTMENT OF LABOR
                              WAGE AND HOUR DIVISION

                               SUBPOENA DUCES TECUM

To: Akshay Hotels, LLC
    10610 Marty Street
    Overland Park, KS 66212

      Pursuant to the Fair Labor Standards Act, 29 U.S.C §§ 209 and 211, you
are hereby required to provide to Ricky Robinson, Assistant District Director,
WAGE AND HOUR DIVISION, KANSAS CITY DISTRICT OFFICE, UNITED
STATES DEPARTMENT OF LABOR, or his designee/representative, all books,
papers, and other documents, as specifically described in the Attachment, by
presenting such documents to the KANSAS CITY DISTRICT OFFICE located at
2300 Main Street, Suite 10058, Kansas City, MO 64108 on September 16, 2022 at
10:00 a.m. or you can submit all records electronically through the WHD
Portal on or before that same date.



                                   Portal Access Information
                                   Link: https://webapps.dol.gov/eup
                               Case ID: 1957069
                              Zip Code: 66212




 FAIL NOT AT YOUR PERIL


                    IN TESTIMONY WHEREOF I have hereunto affixed my signature
                    and the seal of the UNITED STATES DEPARTMENT OF LABOR
                    at Chicago, Illinois this day of         August, 2022.


                    MICHAEL LAZZERI Digitally signed by MICHAEL LAZZERI
                                    Date: 2022.08.29 16:31:25 -05'00'

                    MICHAEL LAZZERI, REGIONAL ADMINISTRATOR
                            WAGE AND HOUR DIVISION
                      UNITED STATES DEPARTMENT OF LABOR



      Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 21 of 38
                                 Attachment 4 to Exhibit A


                                ATTACHMENT to SUBPOENA
                                       Akshay Hotels, LLC

A.     DEFINITIONS AND INSTRUCTIONS

       1.      “La Quinta Inn and Suites” means Akshay Hotels, LLC dba La Quinta Inn & Suites,
including its employees, attorneys, representatives, agents, assigns, subsidiaries, and any
predecessor or successor entities.

        2.      “Document” or “documents” shall mean all writings and recordings within the
meaning of Rules 1001(a) and (b) of the Federal Rules of Evidence (i.e., “letters, words, or
numbers, or their equivalent set down in any form” and “letters, words, or numbers, or their
equivalent recorded in any manner”), however produced or reproduced, of every kind or
description in Pamela Hayward’s possession, custody, or control, or within the custody or control
of any agent, employee representative or other persons acting or purporting to act for or on
behalf of Pamela Hayward, including notes; memoranda; records, reports, correspondence;
telefaxes and faxes; agreements or contracts; accounting or financial records or worksheets;
account books; journals; ledgers; bills; receipts; vouchers; transcripts or notes of conversations
or meetings; minutes of meetings; statements; tabulations; text messages; instant message or
messages from other electronic messaging software or applications; and all draft copies of such
documents containing additional marks or notations not found on the originals.

       3.      “Person” is defined by 29 U.S.C. § 203(a) as: “an individual, partnership,
association, corporation, business trust, legal representative, or any organized group of persons.”

        4.      “Relating to” or “reflecting,” means stating, constituting, referring to, pertaining
to, responding to, regarding, evidencing, explaining, discussing, depicting, analyzing, or
containing any information which in any way concerns, affects, or describes the terms or
conditions, or identifies facts, with respect to the subject of the inquiry.

        5.     “Worker” or “workers” includes individuals contracted, employed, hired, utilized,
or retained by and/or who worked for La Quinta.

       6.     The terms “and” and “or” shall be construed conjunctively or disjunctively as
necessary to make the documents required by this subpoena inclusive rather than exclusive.

       7.      “Including” shall be construed to mean “without limitation.”

        8.       Unless otherwise specified, the time period covered by this subpoena is from
February 1, 2020, to the date of production. Documents created prior to February 1, 2020, which
have been used or relied on since February 1, 2020, or which describe legal duties which remain
in effect after February 1, 2020 (such as contracts and trust agreements), shall be considered as
included within the time period covered by this subpoena.

       9.      If any document required to be produced pursuant to this subpoena is withheld
because of a claim of privilege, identify with respect each such document the:




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 22 of 38
                                Attachment 4 to Exhibit A


              a.      Specific privilege being asserted.
              b.      Nature of the document.
              c.      Author of the document and the date of preparation.
              d.      Recipients of the document or copies thereof; and
              e.      Subject matter of the document.

       10.     If any document required to be produced pursuant to this subpoena has been
destroyed, identify with respect to each such document the:

              a.      Date destroyed.
              b.      Method of destruction.
              c.      Reason for destruction.
              d.      Person or person(s) who authorized the destruction; and
              e.      Subject matter of the document destroyed.


B.     DOCUMENTS TO BE PRODUCED

       1.     Documents reflecting the names, addresses, and telephone numbers of each
owner, corporate officer, and manager of La Quinta.

       2.    Documents reflecting the ownership interest (percentage of ownership) of each
owner of La Quinta.

       3.      Documents identifying all branches and establishments, controlled by, or
operating with La Quinta.

        4.     Documents relating to the business structure of La Quinta, including articles of
incorporation, partnership records, membership records, and corporate filings with the Secretary
of State.

       5.      All federal and state income tax forms submitted and signed by or on behalf of La
Quinta, including all schedules, attachments, and worksheets.

        6.     Documents – including monthly, quarterly, and annual records – stating the
annual gross dollar volume of sales made or business done, or total volume of goods purchased
or received, by La Quinta.

       7.     Documents reflecting the full name, last known addresses, and telephone numbers
of each worker performing work for La Quinta.

       8.      Documents reflecting the dates of birth of each worker of La Quinta who was
under the age of 18 during the time period described in Section A, Paragraph 8 of this
Attachment.

       9.     Documents relating to workers of La Quinta treated as exempt from the minimum
wage or overtime wage requirements under the Fair Labor Standards Act of 1938, as Amended,
29 U.S.C. § 201 et seq.



       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 23 of 38
                                 Attachment 4 to Exhibit A


       10.     All W-2 Forms and/or 1099 Forms distributed by La Quinta to workers.

        11.    All documents reflecting the rate of pay per worker, per pay period and any
changes made to the rate of pay and applicable date(s) of the rate of pay by indicating the
monetary amount paid on a per hour, per day, per week, per piece, commission on sales, or other
basis for each worker.

       12.     All documents reflecting the total gross wages paid per pay period for each
worker, including payroll records, payroll ledgers, payroll journals, pay stubs, and check stubs.

       13.     All documents relating to cash payments to workers.

       14.     All documents reflecting schedules of work for workers.

        15.    Documents reflecting each worker’s starting and ending time and day for each
workweek. If the worker was part of a workforce or employed in or by an establishment whose
workers have a workweek beginning at the same time on the same day, a single document noting
the time of day and beginning day of the workweek for the whole workforce or establishment
will suffice.

      16.     All documents reflecting the hours worked each workday and total hours worked
by workers each workweek, including timesheets, timecards, logs, journals, and diaries.

       17.    All documents reflecting the total daily or weekly regular earnings or wages due
for hours worked during each workday or workweek for each worker.

        18.    All documents reflecting additions to, or deductions from, wages paid each pay
period to each worker.

       19.     All documents reflecting the names and/or positions of any workers who drove
company vehicles and all documents reflecting the make, model, and GVWR (gross vehicle
weight rating) for each vehicle.




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 24 of 38
                                 Attachment 4 to Exhibit A


                                 RETURN OF SERVICE
I hereby certify that I served the subpoena directed to __________________________ on
________________________ by:

‫ ܆‬hand delivering it to _________________________;

‫ ܆‬hand-delivering it to ____________________________, who is: _______________________; is an
individual of suitable age and discretion; and resides at ________________________’s residence.

‫ ܆‬hand-delivering it to __________________________, who is an officer, managing agent, general
agent, or other agent authorized by appointment or law to accept service of process on behalf of
________________________and by mailing a copy of the subpoena to
______________________________.



‫ ܆‬other: _____________________________________________________________.




                                                                          (Signature)


                                                             (Name of person serving the subpoena)



                                                                         (Official Title)


                                                                             (Date)




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 25 of 38
                   Attachment 4 to Exhibit A




Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 26 of 38
                              Attachment 5 to Exhibit A



                UNITED STATES OF AMERICA
                              DEPARTMENT OF LABOR
                             WAGE AND HOUR DIVISION

                              SUBPOENA DUCES TECUM

To: Aditri Hotels, LLC
    8551 East Blue Parkway
    Kansas City, MO 64133



      Pursuant to the Fair Labor Standards Act, 29 U.S.C §§ 209 and 211, you
are hereby required to provide to Ricky Robinson, Assistant District Director,
WAGE AND HOUR DIVISION, KANSAS CITY DISTRICT OFFICE, UNITED
STATES DEPARTMENT OF LABOR, or his designee/representative, all books,
papers, and other documents, as specifically described in the Attachment, by
presenting such documents to the KANSAS CITY DISTRICT OFFICE located at
2300 Main Street, Suite 10058, Kansas City, MO 64108 on September 16, 2022 at
10:00 a.m. or you can submit all records electronically through the WHD
Portal on or before that same date.

                                  Portal Access Information
                                  Link: https://webapps.dol.gov/eup
                              Case ID: 1957069
                             Zip Code: 66212




 FAIL NOT AT YOUR PERIL


                    IN TESTIMONY WHEREOF I have hereunto affixed my signature
                    and the seal of the UNITED STATES DEPARTMENT OF LABOR
                    at Chicago, Illinois this day of        August, 2022.


                     MICHAEL LAZZERI Digitally signed by MICHAEL LAZZERI
                                     Date: 2022.08.29 16:32:30 -05'00'

                    MICHAEL LAZZERI, REGIONAL ADMINISTRATOR
                            WAGE AND HOUR DIVISION
                      UNITED STATES DEPARTMENT OF LABOR



      Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 27 of 38
                                 Attachment 5 to Exhibit A


                               ATTACHMENT to SUBPOENA
                                         Aditri Hotels, LLC

A.     DEFINITIONS AND INSTRUCTIONS

       1.      “Holiday Day Inn Express and Suites” means Aditri Hotels, LLC dba Holiday Inn
Express & Suites, including its employees, attorneys, representatives, agents, assigns, subsidiaries,
and any predecessor or successor entities.

        2.      “Document” or “documents” shall mean all writings and recordings within the
meaning of Rules 1001(a) and (b) of the Federal Rules of Evidence (i.e., “letters, words, or
numbers, or their equivalent set down in any form” and “letters, words, or numbers, or their
equivalent recorded in any manner”), however produced or reproduced, of every kind or
description in Pamela Hayward’s possession, custody, or control, or within the custody or control
of any agent, employee representative or other persons acting or purporting to act for or on
behalf of Pamela Hayward, including notes; memoranda; records, reports, correspondence;
telefaxes and faxes; agreements or contracts; accounting or financial records or worksheets;
account books; journals; ledgers; bills; receipts; vouchers; transcripts or notes of conversations
or meetings; minutes of meetings; statements; tabulations; text messages; instant message or
messages from other electronic messaging software or applications; and all draft copies of such
documents containing additional marks or notations not found on the originals.

       3.      “Person” is defined by 29 U.S.C. § 203(a) as: “an individual, partnership,
association, corporation, business trust, legal representative, or any organized group of persons.”

        4.      “Relating to” or “reflecting,” means stating, constituting, referring to, pertaining
to, responding to, regarding, evidencing, explaining, discussing, depicting, analyzing, or
containing any information which in any way concerns, affects, or describes the terms or
conditions, or identifies facts, with respect to the subject of the inquiry.

        5.     “Worker” or “workers” includes individuals contracted, employed, hired, utilized,
or retained by and/or who worked for Holiday Inn Express and Suites.

       6.     The terms “and” and “or” shall be construed conjunctively or disjunctively as
necessary to make the documents required by this subpoena inclusive rather than exclusive.

       7.      “Including” shall be construed to mean “without limitation.”

        8.       Unless otherwise specified, the time period covered by this subpoena is from
February 1, 2020, to the date of production. Documents created prior to February 1, 2020, which
have been used or relied on since February 1, 2020, or which describe legal duties which remain
in effect after February 1, 2020 (such as contracts and trust agreements), shall be considered as
included within the time period covered by this subpoena.

       9.      If any document required to be produced pursuant to this subpoena is withheld
because of a claim of privilege, identify with respect each such document the:




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 28 of 38
                                Attachment 5 to Exhibit A


               a.     Specific privilege being asserted.
               b.     Nature of the document.
               c.     Author of the document and the date of preparation.
               d.     Recipients of the document or copies thereof; and
               e.     Subject matter of the document.

       10.     If any document required to be produced pursuant to this subpoena has been
destroyed, identify with respect to each such document the:

               a.     Date destroyed.
               b.     Method of destruction.
               c.     Reason for destruction.
               d.     Person or person(s) who authorized the destruction; and
               e.     Subject matter of the document destroyed.


B.     DOCUMENTS TO BE PRODUCED

       1.     Documents reflecting the names, addresses, and telephone numbers of each
owner, corporate officer, and manager of Holiday Inn Express Suites.

       2.     Documents reflecting the ownership interest (percentage of ownership) of each
owner of Holiday Inn Express and Suites.

       3.      Documents identifying all branches and establishments, controlled by, or
operating with Holiday Inn Express and Suites.

        4.      Documents relating to the business structure of Holiday Inn Express and Suites,
including articles of incorporation, partnership records, membership records, and corporate
filings with the Secretary of State.

       5.     All federal and state income tax forms submitted and signed by or on behalf of
Holiday Inn Express and Suites, including all schedules, attachments, and worksheets.

        6.     Documents – including monthly, quarterly, and annual records – stating the
annual gross dollar volume of sales made or business done, or total volume of goods purchased
or received, by Holiday Inn Express and Suites.

       7.     Documents reflecting the full name, last known addresses, and telephone numbers
of each worker performing work for Holiday Inn Express and Suites.

        8.      Documents reflecting the dates of birth of each worker of Holiday Inn Express
and Suites who was under the age of 18 during the time period described in Section A, Paragraph
8 of this Attachment.

       9.      Documents relating to workers of Holiday Inn Express and Suites treated as
exempt from the minimum wage or overtime wage requirements under the Fair Labor Standards
Act of 1938, as Amended, 29 U.S.C. § 201 et seq.



       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 29 of 38
                                 Attachment 5 to Exhibit A


       10.     All W-2 Forms and/or 1099 Forms distributed by Holiday Inn Express and Suites
to workers.

        11.    All documents reflecting the rate of pay per worker, per pay period and any
changes made to the rate of pay and applicable date(s) of the rate of pay by indicating the
monetary amount paid on a per hour, per day, per week, per piece, commission on sales, or other
basis for each worker.

       12.     All documents reflecting the total gross wages paid per pay period for each
worker, including payroll records, payroll ledgers, payroll journals, pay stubs, and check stubs.

       13.     All documents relating to cash payments to workers.

       14.     All documents reflecting schedules of work for workers.

        15.    Documents reflecting each worker’s starting and ending time and day for each
workweek. If the worker was part of a workforce or employed in or by an establishment whose
workers have a workweek beginning at the same time on the same day, a single document noting
the time of day and beginning day of the workweek for the whole workforce or establishment
will suffice.

      16.     All documents reflecting the hours worked each workday and total hours worked
by workers each workweek, including timesheets, timecards, logs, journals, and diaries.

       17.    All documents reflecting the total daily or weekly regular earnings or wages due
for hours worked during each workday or workweek for each worker.

        18.    All documents reflecting additions to, or deductions from, wages paid each pay
period to each worker.

       19.     All documents reflecting the names and/or positions of any workers who drove
company vehicles and all documents reflecting the make, model, and GVWR (gross vehicle
weight rating) for each vehicle.




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 30 of 38
                                 Attachment 5 to Exhibit A


                                 RETURN OF SERVICE
I hereby certify that I served the subpoena directed to __________________________ on
________________________ by:

‫ ܆‬hand delivering it to _________________________;

‫ ܆‬hand-delivering it to ____________________________, who is: _______________________; is an
individual of suitable age and discretion; and resides at ________________________’s residence.

‫ ܆‬hand-delivering it to __________________________, who is an officer, managing agent, general
agent, or other agent authorized by appointment or law to accept service of process on behalf of
________________________and by mailing a copy of the subpoena to
______________________________.



‫ ܆‬other: _____________________________________________________________.




                                                                          (Signature)


                                                             (Name of person serving the subpoena)



                                                                         (Official Title)


                                                                             (Date)




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 31 of 38
                   Attachment 5 to Exhibit A




Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 32 of 38
                             Attachment 6 to Exhibit A



                UNITED STATES OF AMERICA
                             DEPARTMENT OF LABOR
                            WAGE AND HOUR DIVISION

                             SUBPOENA DUCES TECUM

To: Wise Hotels, LLC
    221 East Ash Street
    Junction City, Kansas 66441



      Pursuant to the Fair Labor Standards Act, 29 U.S.C §§ 209 and 211, you
are hereby required to provide to Ricky Robinson, Assistant District Director,
WAGE AND HOUR DIVISION, KANSAS CITY DISTRICT OFFICE, UNITED
STATES DEPARTMENT OF LABOR, or his designee/representative, all books,
papers, and other documents, as specifically described in the Attachment, by
presenting such documents to the KANSAS CITY DISTRICT OFFICE located at
2300 Main Street, Suite 10058, Kansas City, MO 64108 on September 16, 2022 at
10:00 a.m. or you can you submit all records electronically through the
WHD Portal on or before that same date.

                                  Portal Access Information
                                 Link: https://webapps.dol.gov/eup
                             Case ID: 1957069
                            Zip Code: 66212




 FAIL NOT AT YOUR PERIL


                    IN TESTIMONY WHEREOF I have hereunto affixed my signature
                    and the seal of the UNITED STATES DEPARTMENT OF LABOR
                    at Chicago, Illinois this day of        August, 2022.


                     MICHAEL LAZZERI Digitally signed by MICHAEL LAZZERI
                                     Date: 2022.08.29 16:30:20 -05'00'

                    MICHAEL LAZZERI, REGIONAL ADMINISTRATOR
                            WAGE AND HOUR DIVISION
                      UNITED STATES DEPARTMENT OF LABOR


      Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 33 of 38
                                 Attachment 6 to Exhibit A




                                ATTACHMENT to SUBPOENA
                                           Wise Hotels LLC

A.     DEFINITIONS AND INSTRUCTIONS

       1.      “Holiday Day Inn Express and Suites” means Wise Hotels, LLC dba Holiday Inn
Express & Suites, including its employees, attorneys, representatives, agents, assigns, subsidiaries,
and any predecessor or successor entities.

        2.      “Document” or “documents” shall mean all writings and recordings within the
meaning of Rules 1001(a) and (b) of the Federal Rules of Evidence (i.e., “letters, words, or
numbers, or their equivalent set down in any form” and “letters, words, or numbers, or their
equivalent recorded in any manner”), however produced or reproduced, of every kind or
description in Pamela Hayward’s possession, custody, or control, or within the custody or control
of any agent, employee representative or other persons acting or purporting to act for or on
behalf of Pamela Hayward, including notes; memoranda; records, reports, correspondence;
telefaxes and faxes; agreements or contracts; accounting or financial records or worksheets;
account books; journals; ledgers; bills; receipts; vouchers; transcripts or notes of conversations
or meetings; minutes of meetings; statements; tabulations; text messages; instant message or
messages from other electronic messaging software or applications; and all draft copies of such
documents containing additional marks or notations not found on the originals.

       3.      “Person” is defined by 29 U.S.C. § 203(a) as: “an individual, partnership,
association, corporation, business trust, legal representative, or any organized group of persons.”

        4.      “Relating to” or “reflecting,” means stating, constituting, referring to, pertaining
to, responding to, regarding, evidencing, explaining, discussing, depicting, analyzing, or
containing any information which in any way concerns, affects, or describes the terms or
conditions, or identifies facts, with respect to the subject of the inquiry.

        5.     “Worker” or “workers” includes individuals contracted, employed, hired, utilized,
or retained by and/or who worked for Holiday Inn Express and Suites.

       6.     The terms “and” and “or” shall be construed conjunctively or disjunctively as
necessary to make the documents required by this subpoena inclusive rather than exclusive.

       7.      “Including” shall be construed to mean “without limitation.”

        8.       Unless otherwise specified, the time period covered by this subpoena is from
February 1, 2020, to the date of production. Documents created prior to February 1, 2020, which
have been used or relied on since February 1, 2020, or which describe legal duties which remain
in effect after February 1, 2020 (such as contracts and trust agreements), shall be considered as
included within the time period covered by this subpoena.




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 34 of 38
                                Attachment 6 to Exhibit A


       9.      If any document required to be produced pursuant to this subpoena is withheld
because of a claim of privilege, identify with respect each such document the:

               a.     Specific privilege being asserted.
               b.     Nature of the document.
               c.     Author of the document and the date of preparation.
               d.     Recipients of the document or copies thereof; and
               e.     Subject matter of the document.

       10.     If any document required to be produced pursuant to this subpoena has been
destroyed, identify with respect to each such document the:

               a.     Date destroyed.
               b.     Method of destruction.
               c.     Reason for destruction.
               d.     Person or person(s) who authorized the destruction; and
               e.     Subject matter of the document destroyed.


B.     DOCUMENTS TO BE PRODUCED

       1.     Documents reflecting the names, addresses, and telephone numbers of each
owner, corporate officer, and manager of Holiday Inn Express and Suites.

       2.     Documents reflecting the ownership interest (percentage of ownership) of each
owner of Holiday Inn Express and Suites.

       3.      Documents identifying all branches and establishments, controlled by, or
operating with Holiday Inn Express and Suites.

        4.      Documents relating to the business structure of Holiday Inn Express and Suites,
including articles of incorporation, partnership records, membership records, and corporate
filings with the Secretary of State.

       5.     All federal and state income tax forms submitted and signed by or on behalf of
Holiday Inn Express and Suites, including all schedules, attachments, and worksheets.

        6.     Documents – including monthly, quarterly, and annual records – stating the
annual gross dollar volume of sales made or business done, or total volume of goods purchased
or received, by Holiday Inn Express and Suites.

       7.     Documents reflecting the full name, last known addresses, and telephone numbers
of each worker performing work for Holiday Inn Express and Suites.

        8.      Documents reflecting the dates of birth of each worker of Holiday Inn Express
and Suites who was under the age of 18 during the time period described in Section A, Paragraph
8 of this Attachment.




       Case 4:22-mc-09006-DGK Document 1-2 Filed 10/25/22 Page 35 of 38
                                 Attachment 6 to Exhibit A


       9.      Documents relating to workers of Holiday Inn Express and Suites treated as
exempt from the minimum wage or overtime wage requirements under the Fair Labor Standards
Act of 1938, as Amended, 29 U.S.C. § 201 et seq.

       10.     All W-2 Forms and/or 1099 Forms distributed by Holiday Inn Express and Suites
to workers.

        11.    All documents reflecting the rate of pay per worker, per pay period and any
changes made to the rate of pay and applicable date(s) of the rate of pay by indicating the
monetary amount paid on a per hour, per day, per week, per piece, commission on sales, or other
basis for each worker.

       12.     All documents reflecting the total gross wages paid per pay period for each
worker, including payroll records, payroll ledgers, payroll journals, pay stubs, and check stubs.

       13.     All documents relating to cash payments to workers.

       14.     All documents reflecting schedules of work for workers.

        15.    Documents reflecting each worker’s starting and ending time and day for each
workweek. If the worker was part of a workforce or employed in or by an establishment whose
workers have a workweek beginning at the same time on the same day, a single document noting
the time of day and beginning day of the workweek for the whole workforce or establishment
will suffice.

      16.     All documents reflecting the hours worked each workday and total hours worked
by workers each workweek, including timesheets, timecards, logs, journals, and diaries.

       17.    All documents reflecting the total daily or weekly regular earnings or wages due
for hours worked during each workday or workweek for each worker.

        18.    All documents reflecting additions to, or deductions from, wages paid each pay
period to each worker.

       19.     All documents reflecting the names and/or positions of any workers who drove
company vehicles and all documents reflecting the make, model, and GVWR (gross vehicle
weight rating) for each vehicle.




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                                 Attachment 6 to Exhibit A


                                 RETURN OF SERVICE
I hereby certify that I served the subpoena directed to __________________________ on
________________________ by:

‫ ܆‬hand delivering it to _________________________;

‫ ܆‬hand-delivering it to ____________________________, who is: _______________________; is an
individual of suitable age and discretion; and resides at ________________________’s residence.

‫ ܆‬hand-delivering it to __________________________, who is an officer, managing agent, general
agent, or other agent authorized by appointment or law to accept service of process on behalf of
________________________and by mailing a copy of the subpoena to
______________________________.



‫ ܆‬other: _____________________________________________________________.




                                                                          (Signature)


                                                             (Name of person serving the subpoena)



                                                                         (Official Title)


                                                                             (Date)




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